 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               GT Real Estate Holdings, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used
                                                  DT Real Estate Holdco, LLC
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               84           3 9 3 9 5 8 9
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                                  800 S Mint Street
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                               Charlotte                  NC       28202
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Mecklenburg
                                              ______________________________________________                 280 Mount Gallant
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           Rock Hill                  SC         29730
                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      None
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
Debtor         GT Real Estate Holdings, LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           2 3 6 2
                                           ___ ___ ___ ___

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                            4/01/25 and every 3 years after that).
                                                        
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                           A plan is being filed with this petition.

                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases        No
      filed by or against the debtor
      within the last 8 years?           Yes.    District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
Debtor           GT Real Estate Holdings, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information



 13.   Debtor’s estimation of             Check one:
       available funds                     Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49                            1,000-5,000                              25,001-50,000
 14.   Estimated number of                 50-99                           5,001-10,000                             50,001-100,000
       creditors
                                           100-199                         10,001-25,000                            More than 100,000
                                           200-999

 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
Debtor       GT Real Estate Holdings, LLC                                                        Case number("known)
            Narne


                                         u $0-$50,ooo                            $1               million                                          billion
 15.Estimated assets                                                                                million                                            billion
                                                                                                     million                                              billion
                                         CJ $500,001-$1 million                                       million                     More than $50 billion


                                            $0-$50,ooo                           $1               million                                          billion
16. Estimated liabilities                                                                          million                                             billion
                                                                                                     million                                              billion
                                         U $500,001-$1
                                                  million                    u                         million                    More than $50 billion



            Request for Relief, Declaration, and Signatures

 WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonmentfor up to 20 years, or both. 18 U.S.C. SS 152, 1341, 1519, and 3571.


 17.Declaration and signature of             The debtor requests relief in accordance with the chapter of title 1 1, United States Code, specified in this
    authorized representative of
                                             petition.
    debtor
                                             I have been authorized to file this petitionon behalf of the debtor.

                                             I have examined the informationin this petitionand have a reasonable belief that the informationis true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                              06/01/2022
                                            Executed on
                                                             M / DD IYYYY

                                                                                                               Jonathan Hickman
                                             Signature of   Ithorized representative of debtor                Printed name


                                             Title   Chief Restructuring Officer



 18.Signature of attorney                                                                                                    06/01/2022
                                                                                                              Date
                                             Signature Of attorney for debtor                                             MM      IDD /YYYY

                                             Joseph J. Farnan,Jr.
                                             Printed name
                                              FarnanLLP
                                             Firm name
                                              919 North MarketStreet, 12th Floor
                                             Number         Street
                                             Wilmington                                                              DE             19801
                                            City                                                                  State            ZIP code

                                              (302) 777-0300                                                         farnan@farnanlaw.com
                                            Contact phone                                                         Email address



                                            100245                                                                             Delaware
                                            Bar number                                                            State




 Official Form 201                          Voluntary Petition for Non-individuals Filing for Bankruptcy                                          page 4
                                                                              EXECUTION VERSION


                                 WRITTEN CONSENT OF
                              THE BOARD OF MANAGERS OF
                             GT REAL ESTATE HOLDINGS, LLC

                                            June 1, 2022

                The undersigned, being all of the members of the Board of Managers (the “Board”)
of GT Real Estate Holdings, LLC, a Delaware limited liability company (the “Company”), acting
in accordance with the Delaware Limited Liability Company Act (the “DLLCA”) and Section 10
of the Amended and Restated Limited Liability Company Agreement of the Company, dated May
31, 2022, and as may be amended from time to time (the “Operating Agreement”), hereby
consent in writing (this “Consent”) to approve the adoption of the following resolutions, effective
as of the date set forth above, which shall have the same force and effect as if adopted at a duly
noticed and validly held meeting of the Board:
              WHEREAS, the Board has received information and advice regarding the
commercial circumstances facing the Company, including the liabilities and liquidity situation of
the Company, the strategic alternatives available to it, and the effect of the foregoing on the
Company’s business, creditors, and other interested parties;
                WHEREAS, based on its review of all available alternatives and advice provided
by the advisors and professionals advising the Company, the Board has determined that it is in the
best interest of the Company and other interested parties for the Company to take the actions
specified in the following resolutions;
              WHEREAS, the Board has been presented with a proposed petition to be filed by
the Company in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”) seeking relief under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”), in which the authority to operate as a debtor-in-possession will be sought;
                WHEREAS, the Board, having considered the financial and other aspects of the
Company’s business and the best course of action to maximize value, deems it advisable and in
the best interests of the Company, its creditors, and other interested parties that a petition be filed
by the Company seeking relief under the provisions of chapter 11 of the Bankruptcy Code in order
to implement a restructuring of the Company’s obligations and/or pursue other alternatives
available under the chapter 11 of the Bankruptcy Code;
       NOW, THEREFORE, BE IT
       Chapter 11 Case
                RESOLVED, that in the judgment of the Board, it is desirable and in the best
interests of the Company and other interested parties, that a voluntary petition be filed by the
Company seeking relief under the provisions of chapter 11 of the Bankruptcy Code, and the filing
of such petition is authorized hereby; and it is further
              RESOLVED, that the Company’s Chief Restructuring Officer, Jonathan Hickman
(the “CRO”) and the members of the Board (each, an “Authorized Person”), hereby are
authorized and empowered, on behalf of and in the name of the Company, to execute and verify a

                                                                                                      1
petition in the name of the Company under chapter 11 of the Bankruptcy Code and to cause the
same to be filed in the Bankruptcy Court in such form and at such time as the Authorized Person(s)
executing said petition on behalf of the Company shall determine.
       DIP Financing
                RESOLVED, that in connection with the commencement of the chapter 11 case,
each Authorized Person be, and each hereby is, authorized and empowered on behalf of the
Company, to negotiate, execute and deliver a debtor-in-possession loan facility or other form of
credit support or enhancement (including, in connection therewith, such notes, security agreements
and other agreements or instruments as such Authorized Person considers appropriate) on the terms
and conditions as such Authorized Person executing the same may consider necessary, proper or
desirable (including the granting of liens, security interests, and superpriority administrative claims
and the guaranteeing of affiliate obligations), such determination to be conclusively evidenced by
such execution or the taking of such action, and to consummate the transactions contemplated by
such agreement or instruments on behalf of the Company and/or file in the Bankruptcy Court such
pleadings as may be necessary to make such debtor-in-possession facility or other form of credit
support or enhancement binding and effective in respect thereof.

       Retention of Professionals
                RESOLVED, that each Authorized Person and, solely for the purpose of the
resolution in this paragraph of this Consent, any officer of the Company be, and each hereby is,
authorized and empowered, on behalf of and in the name of the Company, to retain and employ
professionals to render services to the Company in connection with the chapter 11 case and the
transactions contemplated by the foregoing resolutions, including, without limitation: the law firm
White & Case LLP to act as restructuring counsel; the law firm Farnan LLP to act as Delaware
restructuring counsel and conflicts counsel; Alvarez & Marsal to act as financial advisor; and Kroll
Restructuring Administration LLC to act as claims and noticing agent and administrative advisor;
and in connection herewith, each Authorized Person is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed appropriate
applications for authority to retain the services of the foregoing; and it is further
                RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered and directed, in the name and on behalf of the Company, to incur and pay or cause to
be paid all such fees and expenses as in their judgment shall be necessary, appropriate, or advisable
to effectuate the purpose and intent of any and all of the foregoing resolutions.
       General Authority to Implement Resolutions
                 RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered, on behalf of and in the name of the Company, to execute, deliver, perform, verify,
and/or file, or cause to be executed, delivered, performed, verified, and/or filed (or direct others to
do so on their behalf as provided herein) all necessary documents, including, without limitation,
all petitions, affidavits, statements, schedules, motions, lists, applications, pleadings, contracts,
agreements, other papers, additional security documents, guarantees, reaffirmations, control
agreements, waivers of or amendments to existing documents, and to negotiate the forms, terms,
and provisions of, and to execute and deliver any amendments, modifications, waivers, or consent
to any of the foregoing as may be approved by any Authorized Person, which amendments,
                                                   2
modifications, waivers, or consents may provide for consent payments, fees, or other amounts
payable or other modifications of or relief under such agreements or documents, the purpose of
such amendments, modifications, waivers, or consents being to facilitate consummation of the
transactions contemplated by the foregoing resolutions or for any other purpose, and, in connection
with the foregoing, to employ and retain all assistance by legal counsel, investment bankers,
accountants, restructuring professionals, or other professionals, and to take any and all action
which such Authorized Person deems necessary or proper in connection with the chapter 11 case,
including any and all action necessary or proper in connection with obtaining authorization to use
cash collateral and/or debtor-in-possession financing (in such amounts and on such terms as may
be agreed by any Authorized Person, including the grant of replacement and additional liens, as is
necessary or proper for the continuing conduct of the affairs of the Company), including the DIP
Facility and refinancings or amendments thereof, with a view to the successful prosecution of the
chapter 11 case contemplated by the foregoing resolutions and the successful consummation of the
transactions contemplated by the foregoing resolutions including, without limitation, any action
necessary or proper to maintain the ordinary course operation of the Company’s business, and
pursue and prosecute any chapter 11 plan or any alternative transactions available to the Company
under the Bankruptcy Code; and it is further
               RESOLVED, that each Authorized Person be, and each hereby is, authorized to
execute, deliver, and perform any and all special powers of attorney as such Authorized Person
may deem necessary or desirable to facilitate consummation of the transactions contemplated by
the foregoing resolutions, pursuant to which such Authorized Person will make certain
appointments of attorneys to facilitate consummation of the transactions contemplated by the
foregoing resolutions as the Company’s true and lawful attorneys and authorize each such attorney
to execute and deliver any and all documents of whatsoever nature and description that may be
necessary or desirable to facilitate consummation of the transactions contemplated by the
foregoing resolutions; and it is further
               RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered, on behalf of and in the name of the Company, to amend, supplement, or otherwise
modify from time to time the terms of any documents, certificates, instruments, contracts,
agreements, financing statements, notices, undertakings, or other writings referred to in the
foregoing resolutions; and it is further
                RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered, on behalf of and in the name of the Company, to take or cause to be taken any and all
such further action and to execute, deliver, perform, verify, and/or file, or cause to be executed,
delivered, performed, verified, and/or filed (or direct others to do so on its behalf as provided
herein) all such further documents, agreements, contracts, instruments, financing statements,
notices, undertakings, certificates, and other writings to effectuate the purpose and intent of any
and all of the foregoing resolutions; and it is further
                RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person to seek relief on behalf of the Company under chapter 11 of the Bankruptcy
Code, or in connection with the chapter 11 case, or any matter related thereto, be, and hereby are,
adopted, ratified, confirmed, and approved in all respects as the acts and deeds of the Company in
all respects by the Board; and it is further


                                                 3
               RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person, or by any agents of the Company, on or before the date hereof in connection
with the transactions contemplated by the foregoing resolutions be, and they hereby are, ratified,
confirmed, and approved in all respects by the Board; and it is further
                RESOLVED, that the omission from these resolutions of any agreement, document,
or other arrangement contemplated by any of the agreements, instruments, filings, or other
documents described in the foregoing resolutions or any action to be taken in accordance with any
requirement of any of the agreements, instruments, filings, or other documents described in the
foregoing resolutions shall in no manner derogate from the authority of the Authorized Person to
take all actions necessary, desirable, proper, advisable, or appropriate to consummate, effectuate,
carry out, or further the transaction contemplated by, and the intent and purposes of, the foregoing
resolutions; and it is further
                RESOLVED, that the authority conferred upon any Authorized Person of the
Company by this Consent is in addition to, and shall in no way limit, such other authority as such
Authorized Person may have with respect to the subject matter of the foregoing resolutions, and
that the omission from this Consent of any agreement or other arrangement contemplated by any
of the agreements, contracts, instruments, or documents described in the foregoing resolutions or
any action to be taken in accordance with any requirement of any of the agreements, instruments,
or documents described in the foregoing resolutions shall in no manner derogate from the authority
of any such Authorized Person to take any and all actions convenient, necessary, advisable, or
appropriate to consummate, effectuate, carry out, perform, or further the transactions contemplated
by and the intents and purposes of the foregoing resolutions; and it is further
                RESOLVED, that each of the Authorized Persons be, and each hereby is,
authorized and empowered to take all actions or not to take any action in the name of the Company
with respect to the transactions contemplated by these resolutions hereunder, as such Authorized
Person shall deem necessary proper, appropriate, desirable, or advisable to effectuate the purposes
of the transactions contemplated herein, including authorizing and providing guaranties and
granting liens in respect of the financing transactions contemplated herein; and it is further
               RESOLVED, that each Authorized Person be, and each of them with full authority
to act without the others hereby is, granted the power, at their discretion, to appoint and remove
any substitutes in connection with any of the aforesaid purposes upon such terms as such
Authorized Person shall deem proper, as well as the power to delegate each and every one of the
powers contemplated by the foregoing resolutions; and it is further
                RESOLVED, that any person dealing with the Authorized Persons authorized by
the foregoing resolutions in connection with any of the foregoing matters shall be conclusively
entitled to rely upon the authority of the Authorized Person including by his or her execution in
the name or on behalf of the Company, of any document, agreement or instrument, the same being
a valid and binding obligation of the Company enforceable in accordance with its terms; and it is
further
                RESOLVED, that the Board has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the organizational documents of the Company, or hereby waives any right to have received
such notice; and it is further
                                                 4
                RESOLVED, that all actions heretofore taken consistent with the purpose and
intent of the foregoing resolutions are hereby authorized, ratified, approved, confirmed, and
adopted in all respects as the acts and deeds of the Company as fully as if such actions had been
presented to the Board for prior approval, including, but not limited to, all such actions taken by
any director, officer, or employee of the Company; and it is further
               RESOLVED, that the authority conferred upon any Authorized Person of the
Company by this Consent shall in no way be limited by any prior resolutions or similar documents,
including the Company’s approval and signature guidelines as adopted on December 9, 2019, and
as amended from time to time.
                                               ***
                                    [Signature Page Follows]




                                                 5
             IN WITNESS WHEREOF, the undersigned, have duly executed and caused this
Written Consent to be delivered as of the date first written above.




                                                              By:
                                                                     Name: Lawrence Rolnick
                                                                     Title: Manager


                                                              By:
                                                                     Name: Vik Jindal
                                                                     Title: Manager




            [Signature Page to Written Consent of the Board of GT Real Estate Holdings, LLC – Chapter 11 Case]
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    GT Real Estate Holdings, LLC,                                     )   Case No. 22-_______ (__)
                                                                      )
                               Debtor.1                               )
                                                                      )
                                                                      )

    DEBTOR’S LIST OF CREDITORS WHO HAVE THE 20 LARGEST UNSECURED
                      CLAIMS AND ARE NOT INSIDERS

       The above-above captioned debtor filed a voluntary petition in this Court on the date hereof
(the “Petition Date”) for relief under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”).

        The attached Form 204 (the “Top 20 Unsecured Claims List”) is based on the Debtor’s
books and records as of the Petition Date and was prepared in accordance with Rule 1007(d) of
the Federal Rules of Bankruptcy Procedure for filing in the Debtor’s chapter 11 case. The Top 20
Unsecured Claims List does not include: (1) persons who come within the definition of “insider”
set forth in section 101(31) of the Bankruptcy Code; (2) secured creditors, unless the unsecured
claim resulting from inadequate collateral value is known and places the creditor among the holder
of the 20 largest unsecured claims; or (3) claims held by the Debtor’s employees, to the extent
applicable.

       The information contained in the Top 20 Unsecured Claims List shall not constitute an
admission of liability by, nor shall it be binding upon the Debtor, and nothing therein shall affect
the Debtor’s right to challenge the amount or characterization of any claim at a later date.
Moreover, the failure to list a claim as contingent, unliquidated, disputed, or subject to setoff does
not constitute a waiver of any of the Debtor’s rights to contest the validity, priority, or amount of
any claim.




1    The Debtor and the last four digits of its taxpayer identification number are: GT Real Estate Holdings, LLC (9589). The
     location of the Debtor’s principal office is 800 South Mint Street, Charlotte, NC 28202.
         Fill in this information to identify the case:
         Debtor name GT Real Estate Holdings, LLC
         United States Bankruptcy Court for the: Delaware
         Case number (If known): ___________                                                                                                                         Check if this is an
                                                                                                                                                                      amended filing
         Official Form 204


         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not
         Insiders                                                                                      12/15

         A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as
         defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured
         claims.
         Name of creditor and complete mailing address, including Name, telephone number, and email                     Nature of the claim       Indicate if claim is    Amount of unsecured claim
         zip code                                                 address of creditor contact                           (for example, trade      contingent,              If the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                                        debts, bank loans,       unliquidated, or         claim is partially secured, fill in total claim amount and deduction for
                                                                                                                        professional services,   disputed                 value of collateral or setoff to calculate unsecured claim.
                                                                                                                        and government
                                                                                                                                                                          Total claim, if          Deduction for value of Unsecured claim
                                                                                                                        contracts)
                                                                                                                                                                          partially secured        collateral or setoff
                                                                        Attn: John West
      Mascaro/Barton Malow, a Joint Venture
                                                                        Title: Project Executive
    1 1720 Metropolitan Street                                                                                                   Trade                 Disputed                                                                    $26,809,900
                                                                        Phone: (412) 215-0973
      Pittsburgh, PA 15233
                                                                        Email: jwest@mascaroconstruction.com
         York County, South Carolina                                    Attn: David Hudspeth
         6 South Congress Street                                        Title: County Manager
    2                                                                                                           Contract Counterparty                  Disputed                                                                    $21,000,000
         P.O. Box 66                                                    Phone: (803) 684-8550
         York, SC 29745                                                 Email: county.manager@yorkcountygov.com
                                                                        Attn: Scott Radecic
      Populous Architects, P.C.
                                                                        Title: Senior Principal
    3 4800 Main Street                                                                                                           Trade                 Disputed                                                                     $784,534
                                                                        Phone: (816) 221-1500
      Kansas City, MO 64112
                                                                        Email: Scott.Radecic@populous.com
                                                                        Attn: Ron Rothfuss
      Terracon Consultants, Inc.
                                                                        Title: Senior Project Manager
    4 2701 Westport Rd                                                                                                           Trade                                                                                              $211,686
                                                                        Phone: (704) 509-1777
      Charlotte, NC 28208-3608
                                                                        Email: Ron.Rothfuss@terracon.com
                                                                        Attn: Chad Kovaleski
      Land Design Inc.
                                                                        Title: Principal
    5 223 North Graham Street                                                                                                    Trade                                                                                              $206,637
                                                                        Phone: (704) 333-0325
      Charlotte, NC 28202
                                                                        Email: contactclt@landdesign.com
      Duke Energy                                                       Attn: Kelly Ayler
      3450 Broad St                                                     Title: Senior Revenue Services Specialist
    6                                                                                                                            Trade                                                                                              $107,670
      Suite 105                                                         Phone: (805) 235-2104
      San Luis Obispo, CA 93401                                         Email: kelly.ayler@duke-energy.com
                                                                        Attn: Robert Chad Bruorton
      S&ME, Inc
                                                                        Title: Project Manager
    7 2724 Discovery Drive, Suite 120                                                                                            Trade                                                                                               $77,401
                                                                        Phone: (803) 561-9024
      Raleigh, NC 27616
                                                                        Email:
                                                                        Attn: Alexa Evans
      PMC
                                                                        Title: Account Executive
    8 101 W Worthington Ave, Suite 260                                                                                           Trade                                                                                               $52,835
                                                                        Phone: (704) 343-9199
      Charlotte, NC 28203
                                                                        Email: Alexa.Evans@pmc.works
         REC Solar                                                      Attn: Kelly Ayler
         3450 Broad St                                                  Title: Senior Revenue Services Specialist
    9                                                                                                                            Trade                                                                                               $36,087
         Suite 105                                                      Phone: (805) 235-2104
         San Luis Obispo, CA 93401                                      Email: kelly.ayler@duke-energy.com
                                                                        Attn: Stratos Lambos
       Xenia Hospitality Group
                                                                        Title: CEO
    10 11508 Providence Road                                                                                                     Trade                                                                                               $35,000
                                                                        Phone: (704) 622-7496
       Charlotte, NC 29277
                                                                        Email: stratos@xeniahospitality.com
         Brabendercox                                                   Attn: Tiffany D’Alessandro
         108 S St SE                                                    Title: Partner
    11                                                                                                                           Trade                                                                                                $4,900
         Box H                                                          Phone: (703) 896-5300
         Leesburg, VA 20175                                             Email:
                                                                        Attn: Michael Sheehan
       SLS Boston Design
                                                                        Title: Principal
    12 260 Patermo Ave                                                                                                           Trade                                                                                                $3,000
                                                                        Phone: (305) 461-9852
       Coral Gables, FL 33134
                                                                        Email: msheehan@slsfire.com
       CMTA, Inc.                                                       Attn: James Benson
       One University Place                                             Title: President
    13                                                                                                                           Trade                                                                                                $2,001
       8801 J.M. Keynes Drive, Suite 240                                Phone: (704) 376-7072
       Charlotte, NC 28262                                              Email:
                                                                        Attn: Kelley Vieregg
       Kelley Vieregg Interior Design
                                                                        Title: Owner
    14 2304 Sharon Road                                                                                                          Trade                                                                                                $1,625
                                                                        Phone: (704) 572-0938
       Charlotte, NC 28207
                                                                        Email: info@kvidinteriors.com
                                                                        Attn: S. Kyle Agee
       Johnston, Allison & Hord, P.A.
                                                                        Title: Partner
    15 1065 East Morehead Street                                                                                                 Trade                                                                                                $1,506
                                                                        Phone: (704) 332-1181
       Charlotte, NC 28204
                                                                        Email: kagee@jahlaw.com
                                                                        Attn: Heidi Edwards
       Heidi Edwards
                                                                        Title: Owner
    16 115 Brown Road                                                                                                            Trade                                                                                                $1,350
                                                                        Phone: (412) 292-7167
       Freeport, PA 16229
                                                                        Email: edwardsh115@gmail.com
                                                                        Attn: David V. Vehaun
       City of Rock Hill
                                                                        Title: City Manager
    17 P.O. Box 11706                                                                                                            Utility                                                                                              $115
                                                                        Phone: (803) 329-7017
       Rock Hill, SC 29731-1706
                                                                        Email:

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   Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities are invoiced.




Official Form 204                                                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                               Page 1
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    GT Real Estate Holdings, LLC,                                     )   Case No. 22-_______ (__)
                                                                      )
                               Debtor.1                               )
                                                                      )
                                                                      )

      CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY HOLDERS
         PURSUANT TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

         Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, GT Real Estate Holdings, LLC (the “Debtor”), states as follows:

         1.        Non-Debtor DT Sports Holding, LLC, whose address is located at 800 South Mint

Street, Charlotte, NC 28202, owns 100% of the ownership interests in the Debtor.

         2.        Non-Debtor Tepper Sports Holding, Inc. owns 100% of the ownership interests in

Non-Debtor DT Sports Holding, LLC.

         3.        The Debtor’s corporate ownership structure is further described in the Declaration

of Jonathan Hickman, Chief Restructuring Officer of the Debtor, in Support of Chapter 11 Petition

and First Day Pleadings, filed substantially contemporaneously herewith.




1    The Debtor and the last four digits of its taxpayer identification number are: GT Real Estate Holdings, LLC (9589). The
     location of the Debtor’s principal office is 800 South Mint Street, Charlotte, NC 28202.
  Fill in this information to identify the case and this filing:


      NameGT Real Estate Holdings, LLC
  Debtor
  United States Bankruptcy Court for the:                             District of    Delaware
                                                                                    (State)

  Case number(Ifknown):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. SS 152, 1341,
1519, and 3571.



             Declaration and signature


         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


               Schedule A/B: Assets—Real and Personal Property (OfficialForm 206A/B)

               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

               Schedule E/F: Creditors Who Have Unsecured Claims (OfficialForm 206E/F)

               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

               Schedule H: Codebtors (Official Form 206H)

               Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

               Amended Schedule

               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                  Corporate Ownership Statement and List of Equity Security Holders
                          thatrequiresa declaration
               Otherdocument



         I declare under penalty of perjury that the foregoing is true and correct.

                          06/01/2022
         Executed on
                         MM 1 DD / YYYY                            Signature    individual signing on behalf of debtor



                                                                   Jonathan Hickman
                                                                   Printed name

                                                                   Chief Restructuring Officer
                                                                 Position or relationship to debtor



OfficialForm202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
